

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






AP-75,735






EX PARTE JOSEPH VICTOR CASTANEDA, Applicant








ON APPLICATION FOR WRIT OF HABEAS CORPUS


CAUSE NO. 1019527D IN THE CRIMINAL DISTRICT


COURT NUMBER THREE FROM TARRANT COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two counts of
possession of more than one gram of methamphetamine and sentenced to six years' imprisonment
after his community supervision was revoked.  Appeals were dismissed because notices were
untimely.  Castaneda v. State, Nos. 02-06-414-CR and 02-06-415-CR (Tex.App. - Fort Worth,
delivered January 11, 2007, no pet.). 

	Applicant contends that his counsel rendered ineffective assistance because he failed to timely
file notices of appeal.  The trial court has determined that trial counsel failed to timely file notices of
appeal.  We find, therefore, that Applicant is entitled to the opportunity to file out-of-time appeals
of the judgments of conviction in Cause Nos. 1019527D &amp; 1018885D from the Criminal District
Court Number Three of Tarrant County.  Applicant is ordered returned to that time at which he may
give written notices of appeal so that he may then, with the aid of counsel, obtain meaningful appeals. 
All time limits shall be calculated as if the sentences had been imposed on the date on which the
mandate of this Court issues.  We hold that, should Applicant desire to prosecute any appeal, he must
take affirmative steps to file a written notices of appeal in the trial court within 30 days after the
mandate of this Court issues.


Delivered:  August 22, 2007

Do Not Publish


